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                                                    U.S. Department of Justice

                                                    Channing D. Phillips
                                                    Acting United States Attorney

                                                    District of Columbia



                                                   June 1, 2021

By Email
Robert Feitel, Esq.
Counsel for Defendant
rf@rfeitellaw.com

       Re: United States v. Brandon Hargraves
       Criminal Case No. 21-CR-58 (BAH)

Dear Mr. Feitel:

       This letter memorializes the Government’s production of discovery
to you on June 1, 2021, wherein the following items were produced to you
via USAfx folder titled “US v. Brandon Hargraves, 21-cr-58”:

       •   DIMS Photos (11 photos)
       •   Indictment (2 pages)
       •   Pretrial Services Report_Criminal History (4 pages)
       •   Report of Crime Scene Examination – Crime Scene Sciences unit (4
           pages)
       •   Report of Examination, Latent Fingerprint Unit – Evidence Processing (1
           page)
       •   Evidence Collection Log (Evidence # 0001 – 0003) (1 page)
       •   Evidence Collection Log (Evidence # 0005 – 0006) (1 page)


                                   Sincerely,

                                   CHANNING D. PHILLIPS
                                   Acting United States Attorney

                                   By:    _/s/Jeffrey N. Poulin
                                          Jeffrey N. Poulin
                                          Assistant United States Attorney
